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1          LAW OFFICES OF
         WING & PARISI
2    A PROFESSIONAL CORPORATION
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3     SACRAMENTO, CA 95814
                    441-4888
               State Bar #063214
4

5    ATTORNEYS FOR:          Defendant
6                                   IN THE UNITED STATES DISTRICT COURT
7                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA                       No. 2-10 – Cr. 0305 LKK
10
                                      Plaintiff,    STIPULATION AND ORDER FOR
11                                                  TEMPORARY MODIFICATION OF
          v.                                        CONDITIONS OF RELEASE
12

13   SARA SHIRAZI.

14                                  Defendant,
15

16
            It is hereby stipulated and agreed between the parties herein, the United States
17
     through RUSSELL CALRBERG, Assistant United States Attorney, and defendant, SARA
18
     SHIRAZI, through her attorney, Christopher H. Wing, that the conditions of Defendant’s
19
     Pre-Trial Release can be temporarily modified to allow Defendant to visit her father in Iran,
20
     for three (3) weeks in June of this year; tentatively leaving by June 30, 2012 to return on or
21
     before July 21, 2012, assuming flight availability.
22
            To accomplish this, the parties agree that Defendant’s attorney can pick up
23
     Defendant’s passport from the Clerk of the Court upon the order having been issued by the
24
     Magistrate Judge. Further, Defendant’s attorney will provide Defendant with the information
25
     necessary to make reservations for her international flight and, once made, will provide the
26
     government with a copy of Defendant’s itinerary before giving Defendant her passport.
27

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              1
                         The parties further stipulate that upon Defendant’s return to the United States, her
              2
                  passport will be returned to her Counsel and he will surrendered it to the Clerk of the Court
              3
                  no later than July 27th, and the original conditions of release shall be reinstated.
              4

              5
                  Respectfully Submitted
              6                                                              BENJAMIN B. WAGNER
                                                                             United States Attorney
              7

              8   DATE: May 29, 2012                                   By    /s/Christopher H. Wing for
                                                                             RUSSELL CARLBERG
              9                                                              Assistant U.S. Attorney

            10    DATE: May 29, 2012                                         /s/ Christopher H. Wing
                                                                             CHRISTOPHER H. WING
            11                                                               WING & PARISI
            12                                                               Counsel for Sara Shirazi

            13                                                    ORDER

            14           This matter having come on before me pursuant to the stipulation of the parties and

            15    good cause appearing therefore:

            16                  IT IS ORDERED THAT: Defendant, SARA S SHIRAZI’S conditions of Pre-

            17    Trial release shall be modified to allow her to travel to Iran, from June 30, 2012 to return on

            18    or before July 21, 2012, or for dates available for that same period of three (3) weeks, and

            19    that the Clerk of the Court is instructed to permit her counsel, Christopher H. Wing to

            20    retrieve her passport immediately. Counsel will not provide Defendant with the passport

            21    until the government has been notified of her itinerary.

            22                  FURTHER, that uponDefendant’s return to the Eastern District, she will return

            23    the passport to her Counsel who, in turn will file it with the Clerk of the Court no later than

            24    July 27th, and the original conditions of release shall be re-instated.

            25

            26           Dated: May 30, 2012.

            27

            28
LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.
                                                                   2
